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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 Johnnie Foster                                        Case No. 3:11 CV 580

                                Plaintiff,             DISMISSAL ORDER

                  -vs-                                 JUDGE JACK ZOUHARY

 NCO Financial Systems, Inc.,

                                Defendant.



       Counsel represent that this case has resolved. Therefore, the docket is marked: “Settled and

dismissed without prejudice. Each party is to bear its own costs.”

       Further, any subsequent Dismissal with prejudice, or setting forth specific settlement terms

and conditions, filed within thirty (30) days shall supersede this Order. The Court also retains

jurisdiction to enforce the terms of any settlement.

       IT IS SO ORDERED.

                                                            s/ Jack Zouhary
                                                        JACK ZOUHARY
                                                        U. S. DISTRICT JUDGE

                                                        June 7, 2011
